Case 2:24-mj-00444-GMB Document 1 Filed 07/27/24 Page 1 of 7            FILED
                                                                2024 Jul-29 AM 09:56
                                                               U.S. DISTRICT COURT
                                                                   N.D. OF ALABAMA
Case 2:24-mj-00444-GMB Document 1 Filed 07/27/24 Page 2 of 7
Case 2:24-mj-00444-GMB Document 1 Filed 07/27/24 Page 3 of 7
Case 2:24-mj-00444-GMB Document 1 Filed 07/27/24 Page 4 of 7
Case 2:24-mj-00444-GMB Document 1 Filed 07/27/24 Page 5 of 7
Case 2:24-mj-00444-GMB Document 1 Filed 07/27/24 Page 6 of 7
Case 2:24-mj-00444-GMB Document 1 Filed 07/27/24 Page 7 of 7
